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                   EXHIBIT “E”
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yy               Berkley
¥ BIG ¥ | Luxury Real Estate Specialists                                                               ADMIRAL INDEMNITY COMPANY
Ya    ee”                    A division cf Berkley Luxury Group                                    CLERMONT INSURANCE COMPANY


                                        HABITATIONAL SUPPLEMENT TO ACORD APPLICATIONS


                                                             Account Information

Named Insured:          | The Landmark Condominium Association, Inc.
              Location215 Piedmont Avenue NE, Atlanta, GA                30318

Property Management Company / Managing Agent:                      __ Alexandra Betancur, Property manager
Email Address for Inspection:           landmarkcondomanagement@gmail.com

                                                                   Risk Information

# of Building(s): 1.                #of Units: 205 =       # of Units per 2" Building (if applicable): _N/A_
# of Units per 3rd Building (if applicable): N/A _
# of Sponsor-owned         Units:
Occupancy:      LJ Rental       LJCoop       [)Condo        LJ Cond-op
Occupancy %: _ 100
Are there any vacant units? 01 Yes GJ No             If yes, how many?
Short Term Rentals (less than 1 year): K] Yes LD) No                   Are sublets permitted?           0 Yes     No
Construction Type:          ISO 6 Fire Resistive

# of Stories: __ 22
Year Built:    _ 1963
Year Gut Renovated:           N/A          (Please add any details in cover email or supporting documents as to what the renovation entailed. Were
                                                                                                     and sewer pipes leading to main city drains
all mechanicals including electrical and plumbing completely removed and replaced? Were sewer drains
removed/replaced?):


                              ):
                          Plumbing:
Major updates to systems(year                            2021 ___ HVAC:          2021     Roof:        2021 _ Electric:    2021

Is there any exterior EIFS cladding?         LJ Yes KI No
Year of last roof inspection: _ 2021
Year of last water/cooling tower inspection:            202>
Year of last gas system inspection:          2025
                                                   By whom?        _OFFIce       DE COMMISS!IONGR                  O pr /NSULANCE
Year of last boiler inspection: ZO2ZZ_
Who maintains all building equipment?                GAR           MECTANL              CRC
 lf in NYC, year of last Local Law 11 inspection:           _N/A
 Elevators? XJ Yes (1 No
          # of passenger elevators:            #            # of freight elevators:           4

          Maintenance Program: X] Yes 1) No
                                                    2022       By whom?          OFFICE           OF     COMMISS          LONE    OF    |N Susanne
          Year of last elevator inspection:


                                                                                                                                       Page 1 of 3
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¥ BIG ¥                       Luxury Real Estate Specialists                                                               ADMIRAL INDEMNITY COMPANY
Y                  Be                   A division of Berkley         Luxury Gro      up                                  CLERMONT INSURANCE COMPANY


                                                                       Additional Building Information

Formal Winterization Program in Place? & Yes LJ No
If Yes, please provide specifics:
Is heat maintained to a minimum 60 degrees in vacant or unsold units? & Yes LJ No
Who is responsible for verification?                       OWNERS
Electrical System: CO] Fuses                  [ Circuit Breakers               O] Both        If Both, What % of each?

Are There Any Federal Pacific electric Stab-Lok panels in the building?                                         D0 Yes & No

Is aluminum wiring present?                     0 Yes K No
Is the building sprinklered?                   && Yes CINo            If Yes, what % of Building Sprinklered?                   100 *[o

Is the floor over the basement Fire Resistive?                               @ Yes            No     Are the stairwells enclosed?            6% Yes   O No

Are standpipes in stairwells?                      & Yes   _] No
Is there emergency lighting in stairwells? &Yes                                     C1 No
Are utility shut-offs accessible?                    (gas, electrical and water)                   (Yes     C. No    By Whom?       MAIN       TENANCE

Does each unit have 2 means of egress?                               01 Yes PRNo
Are there exterior fire escapes?                      OL Yes         &] No

Is there an annunciator Panel?                       M Yes 0] No
Fire Alarms:                  &@ Central Station      CJLocal          Smoke detection systems:                     O Hard wired ®      Battery

Doorperson: Kl Yes C.No                       If Yes, Hours: 4 24 (16                        01 12 Other:
Burglar Alarm on all unattended entries? &] Yes C1No
                                 [FTV Monitors & Intercom D Buzzer OU Virtual Doorman C] Motion Detectors Camera                                             Surveillance
Other Security:
Resident superintendents, building manager or engineer?                                            Yes      LINo

If non-resident, where doedh9/she live?                                 ATO                  TTA

Commercial occupancy:                      1 Yes kl No_         If Yes, # of square feet:

 List all commercial tenants:

 Does building have school or daycare onsite?                                O Yes          4 No     If Yes, separate entrance?         OJ Yes CO No

    Professional Offices:                 (Yes) No         #of units:                               If Yes, separate entrance? DO Yes LJ No

    Parking on Premises: C1 Yes [x] No_                    If Yes, _| Indoor                 CO Outdoor       C1 Both    Sq. Footage:
                                                                                                                                          next door
    Is parking private or open to public?                      _No parking provided at building location - third party vendor has parking
    Does Building run the garage or outside operator?                                      _Outside operator
    If outside, please attach a COI indicating adequate GL/Garage Keepers coverage.
    Is the garage or premise(s) equipped with electric vehicle charging station(s)?                                        D1 Yes    LJ No

    Are e-bikes allowed in units or garage?                          C1 Yes & No




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¥ BIG ¥                           Luxury Real Estate Specialists
“Sy, Pw                                             A division of Berkley Luxury Group                                                                                        CLERMONT                        INSURANCE                       COMPANY
      -          Be,          f                                                              @ Berkley Company




                                                                                                                          Amenities

Exercise Room: k] Yes 0 No
Equipment maintained by third Party? D Yes MNo
Swimming Pool:                         & Yes                No_        If Yes, C1 Diving Board                            UO Slide Location of Pool:

Lifeguard available:                           C1 Yes KI No                     Is Lifeguard an employee of the building? 1 Yes CL] No

Jacuzzi / Whirlpool / Sauna:                                      0 Yes CO. No                    Emergency Shut-off available:                                        D Yes DO No

Other Amenities:


                                                                                                            Additional Information

Are Risk Transfer procedures in place including insurance certificate requirements for any/all contractors performing
work for the Building as well as any Tenants/Shareholders/Unit Owners who may hire contractors? K] Yes                                                                                                                                         1) No

Are individual unit owners permitted to hire their own contactors? & Yes O.No
Does the association or independent property management firm hire contractors?                                                                                                            X] Yes          L.No

If yes, does the Insured or Property Manager collect Certificates of Insurance? Xl Yes                                                                                                              No

If yes, is the Insured named as an Additional Insured? J Yes J No
                                                                                                                  and
Does the Insured or Property Manager utilize a standardized work contract that includes a hold harmless agreement
indemnification agreement?                                         EI Yes C1 No (Please attach)
                                                                                                              loss
Has the coop/condo/apartment agreed to waive subrogation against its unit owners/shareholders/tenants for any
in the building? IX] Yes L) No
Does the coop/condo/apartment require its unit owners/shareholders to carry homeowner's insurance? L] Yes                                                                                                                                                   @ No

If so what are the minimum amounts required per unit?
Is the building responsible for sidewalk cleaning? LJ Yes No

Is the building responsible for structural sidewalk maintenance?                                                                                  C1 Yes DY No                   If No, who is responsible?
If yes, last time sidewalk was repaired or replaced?

What insuring agreement is in the building/association by-laws? (Please include a copy of the by-laws with app)
                       ZC Bare Walls: Buildings and structures only. No coverage for units
                       [XJ Single Unit: Building, structures and units on original specification basis

                       CO All-In: Building, structures and units on additional installation basis

    Have the by-laws or Master Deed been amended to reflect a change in the insurance requirements?                                                                                                                               C1 Yes LJ No

    If Yes, please explain:

                                                                                                                                                                                            DATE
    PRINTED NAME AND TITLE OF AUTHORIZED REPRESENTATIVE COMPLETING SUPPLEMENTAL APPLICATION
                                                                                                    ON AN APPLICATION FOR AN INSURANCE POLICY |S SUBJECTTO CRIM|NAL AND CIVIL PENALTIES.”
    NOTICE TO NEW JERSEY APPLICANTS: “ANY PERSON WHO INCLUDES ANY FALSE OR MISLEADING INFORMATION                                                                   INSURANCE OR STATEMENT OF CLAIM CONTAINING ANY MATERIALLY FALSE
                                                                                   TO DEFRAUD ANY INSURANCE COMPANY OR OTHER PERSON FILES AN APPLICATION FOR
    NOTICE TO NEW YORK APPLICANTS: "ANY PERSON WHO KNOWINGLY AND WITH INTENT                                                                                                           ALSO BE SUBJECT TO ACIVIL PENALTY NOT TO EXCEED FIVE
                                                                                           FACT MATERIAL THERETO, COMMITS A FRAUDULENT INSURANCE ACT, WHICH /5 A CRIME, AND SHALL
    INFORMATION, OR CONCEALS FOR THE PURPOSE OF MISLEADING, |NFORMATION CONCERNING ANY
    THOUSAND DOLLARS AND THE STATED VALUE OF THE CLAIM FOR EACH SUCH VIOLATION."
                                                                            COMPANY  OR ANOTHER   PERSON  FILES AN APPLICATION FOR INSURANCE OR STATEMENT  OF CLAIM CONTAINING ANY MATERIALLY FALSE INFORMATION, OR CONCEALS FOR THE
    ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD ANY INSURANCE                                                                                                           [NY: SUBSTANTIAL] CIVIL PENALTIES. (Not applicable in CO, HI, NE,
                                                                                        A FRAUDULENT INSURANCE ACT, WHICH |S A CRIME, AND SUBJECTS THE PERSON TO CRIMINAL AND
    PURPOSE OF MISLEADING, INFORMATION CONCERNING ANY FACT MATERIAL THERETO, COMMITS                                                                                                                                                for personal,
                                                                                                                                      Company that the product being sought by the applicant under the application for insurance is not being obtained primarily
    OH, OK, OR, or VT; in DC, LA, ME, TN and VA, insurance Denefits may also be denied)."The Applicant represents anc warrants to the
    family or household purpases.”




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